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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

      v.                                            Criminal Action No. 1:21-cr-00498 (CJN)

ANDREW QUENTIN TAAKE,

              Defendant.


                                            ORDER

       This matter is before the Court on Defendant’s Motion to Dismiss Count Two of the

Superseding Indictment, ECF No. 29. Upon review of the Motion, its Supplement, ECF No. 31,

and the Government’s Responses, ECF Nos. 33 and 34, the Motion is granted for the reasons set

forth in United States v. Miller, No. 21-cr-119 (CJN), --- F. Supp. 3d ---, 2022 WL 823070 (D.D.C.

Mar. 7, 2022), and United States v. Miller, No. 21-cr-119 (CJN), --- F. Supp. 3d ---, 2022 WL

1718984 (D.D.C. May 27, 2022).

       Accordingly, it is

       ORDERED that Defendant’s Motion to Dismiss Count Two of the Superseding

Indictment is GRANTED.


DATE: September 2, 2022
                                                            CARL J. NICHOLS
                                                            United States District Judge




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